33 F.3d 52
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ralph SEAGLE, Plaintiff Appellant,v.Thomas J. MERKEL;  Sylvia Thibaut;  North CarolinaDepartment of Corrections, Defendants Appellees.
    No. 94-6619.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 19, 1994.Decided Aug. 16, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (CA-93-154-CRT-BO)
      Ralph Seagle, appellant pro se.
      LaVee Hamer, Office of the Attorney General of North Carolina, Raleigh, NC, for appellees.
      E.D.N.C.
      AFFIRMED.
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Seagle v. Merkel, CA-93-154-CRT-BO (E.D.N.C. Apr. 25, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Because a certificate of probable cause to appeal is unnecessary in a Sec. 1983 action, we deny Appellant's motion for same
      
    
    